          Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 1 of 8



                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                :             CRIMINAL ACTION
                                        :
             v.                         :
                                        :
NYFESSE SAUNDERS                        :             NO. 10-442


                                  MEMORANDUM

Bartle, J.                                               January 12, 2021

             The Court has before it the pro se motion of defendant

Nyfesse Saunders for a reduction of sentence pursuant to

18 U.S.C. § 3582(c)(1)(A).

                                       I

             On April 29, 2010, the Philadelphia District Attorney

charged defendant with possession of a firearm as a person

convicted of a drug offense in violation of 18 Pa. Con. Stat.

§ 6105.     Defendant was released on bail, but on May 27, 2010, he

was arrested again for attempted murder and conspiracy to commit

murder.     On July 13, 2010, a federal grand jury in the Eastern

District of Pennsylvania returned an indictment against

defendant, charging him with possession of a firearm as a

convicted felon in violation of 18 U.S.C. § 922(g)(1).             On

October 1, 2010, defendant pleaded guilty to the charge without

a plea agreement.       On January 28, 2011, this court sentenced

defendant to 55 months imprisonment to be followed by three

years of supervised release.         Defendant is currently serving his
        Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 2 of 8



sentence at the Lexington Kentucky Federal Medical Center (“FMC

Lexington”), with an estimated release date of September 22,

2022.

                                II

           Defendant’s motion for reduction of sentence relies on

section 3582(c)(1)(A) as recently amended by the First Step Act.

It provides, in relevant part:

           The court may not modify a term of imprisonment once
           it has been imposed except that—
           (1)    in any case—
                 (A)   the court, upon motion of the
                 Director of the Bureau of Prisons, or
                 upon motion of the defendant after the
                 defendant has fully exhausted all
                 administrative rights to appeal a
                 failure of the Bureau of Prisons to
                 bring a motion on the defendant’s behalf
                 or the lapse of 30 days from the receipt
                 of such a request by the warden of the
                 defendant’s facility, whichever is
                 earlier, may reduce the term of
                 imprisonment (and may impose a term of
                 probation or supervised release with or
                 without conditions that does not exceed
                 the unserved portion of the original
                 term of imprisonment), after considering
                 the factors set forth in section 3553(a)
                 to the extent that they are applicable,
                 if it finds that—
                       (i) extraordinary and compelling
                       reasons warrant such a reduction
                       . . .

                 and that such reduction is consistent
                 with applicable policy statements issued
                 by the Sentencing Commission.




                                     2
       Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 3 of 8



            Defendant has exhausted his administrative remedies,

and we turn first to the elements that a defendant must meet

under section 3582(c)(1)(A)(i) to obtain a reduction in

sentence.   It provides that a court may order compassionate

release for “extraordinary and compelling reasons” but only if

the reduction in sentence is “consistent with applicable policy

statements of the Sentencing Commission.”

            Congress has also enacted 28 U.S.C. § 994(t) which

provides:

            The Commission, in promulgating general
            policy statements regarding the sentencing
            modification provisions in section
            3582(c)(1)(A) of title 18, shall describe
            what should be considered extraordinary and
            compelling reasons for sentence reduction,
            including the criteria to be applied and a
            list of specific examples. Rehabilitation of
            the defendant alone shall not be considered
            an extraordinary and compelling reason.

The application note 1(A) of section 1B1.13 of the Sentencing

Guidelines explains that “extraordinary and compelling reasons”

exist where the defendant is:      (1) “suffering from a terminal

illness” including among others “advanced dementia”; (2)

“suffering from a serious physical or medical condition”; (3)

“suffering from a serious functional or cognitive impairment”;

or (4) “experiencing deteriorating physical or mental health

because of the aging process.”      The latter three grounds also

require that the impairment “substantially diminishes the

                                    3
       Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 4 of 8



ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she

is not expected to recover.”

                                   III

          Defendant asserts that compassionate release should be

granted because he suffers from high blood pressure and has a

hernia that causes him pain on a regular basis.         In support of

his motion, defendant also avers that he:        is regretful for his

past actions and has a “different outlook on life now”; has

taken advantage of various rehabilitative measures available to

him in prison; needs to provide care for his ill mother; and

will not be a danger to the community.       With respect to the

pandemic, defendant provides information about the potential

dangers to those in prison facilities who cannot engage in the

social distancing or take other salutary measures necessary to

mitigate the spread of coronavirus and the current rates of

infection and testing in federal prisons.

          The Government opposes defendant’s motion.          It

disputes defendant’s characterization that his medical

conditions are as serious as he claims.        According to the

Government, defendant’s medical conditions “are well controlled

at this time with medication provided by the institution” and do

not appear to place him at enhanced risk during the current



                                    4
       Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 5 of 8



pandemic.    It maintains that defendant does not present any

specific serious conditions and “is fully ambulatory and engages

in all normal activities of daily living.”        It further asserts

that defendant is not eligible for compassionate release because

he has not “pointed to any conditions that he currently has that

is on CDC’s list of certain high-risk conditions.”          It also

maintains that, if released, defendant presents a danger to the

community.

            According to Bureau of Prisons health records,

defendant is 35 years old and suffers from hypertension.              He has

been prescribed Losartan 75 mg, which he takes daily.          Defendant

also has a family history of hypertension and had previously

suffered from an inguinal hernia.       On December 22, 2020, he was

hospitalized for a hernia repair surgery.        As of December 28,

2020, the hernia post-operative site “looked appropriate” and

defendant has been using a cane for support while recovering.

Defendant has also been prescribed various medications for post-

operative treatment and pain management.        He has been taking and

has access to his prescribed medications as needed.

            The Court is, of course, mindful of the devastating

worldwide pandemic and the special dangers the highly contagious

coronavirus poses for the defendant and all others in prison.

However, “the mere existence of COVID- 19 in society and the

possibility that it may spread to a particular prison alone


                                    5
       Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 6 of 8



cannot independently justify compassionate release.”          United

States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).         The Bureau of

Prisons, including FMC Lexington, has in place protocols to deal

with this disease and the Attorney General has issued two

directives to the Bureau of Prisons concerning early release of

inmates, which it is following.

          Based on the current record, defendant has not

established that his hypertension and hernia surgery constitute

serious medical conditions as defined in the Sentencing

Guidelines.    The serious medical condition under the Sentencing

Guidelines must be an impairment which “substantially diminishes

the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she

is not expected to recover.”      Defendant clearly does not meet

this requirement.

          Even if he has the requisite serious medical

condition, the Court’s analysis does not end here.          Section

3582(c)(1)(A) requires the Court to consider the “factors set

forth in section 3553(a) to the extent they are applicable”

before the Court may reduce his sentence.        These factors include

the need to:   “reflect the nature and circumstances of the

offense and the history and characteristics of the defendant”;

“reflect the seriousness of the offense”; “protect the public




                                    6
       Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 7 of 8



from further crimes of the defendant”; and “afford adequate

deterrence to criminal conduct.”

          In this regard, defendant claims that he is “not the

same person that [this Court] sentenced almost a decade ago.”

He reports that he has not received any disciplinary infractions

since he has been incarcerated, is utilizing the BOP’s

educational courses, and has completed numerous certificates.

He also maintains that he wishes to provide and care for his

mother because she is suffering from several medical and

financial issues.    While the court applauds defendant for any

strides he has made toward rehabilitation, these factors alone

do not allow for his release.      Under 28 U.S.C. § 994(t),

Congress has made it clear:     “[r]ehabilitation of the defendant

alone shall not be considered an extraordinary and compelling

reason” for compassionate release.       In any event, his

rehabilitation, good works, and family circumstances do not

outweigh other section 3553(a) factors which support the need

for him to serve the sentence imposed.

          The Court cannot ignore the seriousness of defendant’s

criminal history.    As noted before, defendant was found guilty

of possessing a firearm despite being convicted of two felony

drug convictions.    When released on bail, defendant shot a man

multiple times in the stomach and legs.        He was ultimately

convicted of attempted murder and conspiracy to commit murder in


                                    7
       Case 2:10-cr-00442-HB Document 43 Filed 01/12/21 Page 8 of 8



state court.    Defendant’s Presentence Investigation Report

further details a history of criminal activity, including prior

convictions for drug possession.        His crimes are of a serious

nature and underscore the danger defendant poses to the

community.     Defendant has not provided any evidence to suggest

otherwise.     Releasing defendant now would not appropriately

reflect the nature and circumstances of his offenses, reflect

the seriousness of the offenses, protect the public from further

crimes of the defendant, or afford adequate deterrence to

criminal conduct.     See section 3553(a).

          The Court, taking all the relevant facts into account,

finds that defendant Nyfesse Saunders has not established

extraordinary and compelling reasons that warrant his

entitlement to compassionate release.        Accordingly, the Court

will deny the motion of defendant for a reduction of sentence

under 18 U.S.C. § 3582(c)(1)(A).




                                    8
